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                     EXHIBIT 8
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                                                                                 EXHIBIT 8


        HOLMES PITTMAN & HARAGUCHI, LLP
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May 2, 2025

Daniel P. Culley
Cleary Gottlieb Steen & Hamilton LLP
dculley@cgsh.com

Re:     VoIP-Pal.com Inc. v. AT&T, Inc. et al, Case No. 1-24-cv-03051
        Rich Inza, et al. v. AT&T, Inc. et al, Case No. 1-24-cv-03054

Dear Mr. Culley,

I am in receipt of your email dated May 1, 2025 regarding service of process in the above
referenced case. That email is attached to this letter as Attachment A.

First, I must admit that I misperceived your March 3, 2025 email, which I had understood to
indicate that you are authorized to accept service on behalf of Mark Nelson and Mike Sievert, in
addition to the other T-Mobile defendants. Thank you for offering to communicate with Mark
Nelson, Mike Sievert, and T-Mobile to determine whether they will agree to waive service pursuant
to FRCP 4(d)(3). May I ask does your office represent all of the defendants who are associated
with T-Mobile? Again, it appears I made an assumption in that regard based on the parallel posture
of the attorneys for the Verizon defendants and the AT&T defendants.

I have attached here as Attachment B a copy of the letter I sent to you on April 23, 2025 which
transmited to you all of the summonses for the T-Mobile defendants, the waiver form, and the
operative complaints. Also attached here as Attachment C is a letter I sent to Verizon’s’ attorney
Mr. Bradley Lui, a copy of which I sent to you, on April 28, 2025. In that letter, I stated the
following:

        The two online repositories, corresponding to the two cases, are organized in
        accordance with the docket numbers assigned by the Court’s PACER docket sheets.
        Accordingly, each online repository has a folder labeled 1 COMPLAINT
        containing the original Complaint filed in that case. Likewise, each online
        repository contains a folder labeled 7 AMENDED COMPLAINT, containing the
        First Amended Complaint filed in each case. The First Amended Complaints were
        filed by right, pursuant to FRCP 15(a)(1)(A), and are the operative Complaints in
        each case.




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The April 28, 2025 letter also discusses the motion filed in both cases involving a proposed Second
Amended Complaint, and seeks consent to the amendment. The proposed Second Amended
Complaints are located in the online fileshare repositories at Dkt. 9-4 in the direct case (No. 24-
cv-03051) and Dkt. 10-4 in the class action (No. 24-cv-03054).

May I ask that you please advise as to whether your clients will consent to the amendment?

I recognize that these cases, and this service of process, come to your office with a robust
procedural posture. If you have any further questions or concerns, I would ask that you please
provide your availability for a teleconference to talk through the same. I will note, for what it is
worth, that the AT&T defendants have returned the executed waiver forms to my office in both
cases on April 29, 2025, after receiving the same two letters described above.

Finally, pursuant to your request that I send you a copy of the operative complaint directly, I have
included with this letter at Attachment D and Attachment E the First Amended Complaint in both
cases. However, before we get too far along I would ask that you please provide your clients’
response as to the request for leave to amend.

Thank you again for your agreement to inquire with your clients about waiver of service of process,
and for your efforts on this case.




                                                     Very truly yours,

                                                     Travis Pittman




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